Case: 1:25-cv-05846 Document #: 12-7 Filed: 06/04/25 Page 1 of 2 PageID #:288




                        Exhibit ５5
                        Ｅｘｈｉｂｉｔ
                 Case: 1:25-cv-05846 Document #: 12-7 Filed: 06/04/25 Page 2 of 2 PageID #:289


８ｉｓｌｉｏｇｒａｐｓｉｃ Ｄａｔ
Ａｐｏｌｉ２９／９５２，１４４
Ｆｏｅｇｒｉｏｒａｓｅｄ：
３５ ８３０１１９｛ａ－１ ｃｏｎｓｏｎｓ ｍｅ             Ｙｅｓ                          Ｍｅｔ ｅｉｓｗｎｅ
ｖｅｄ ｅｄｇｅｄ：
                                  Ｅａｅｒ＇ｓ Ｓｉｇｎａｔｕｅ                 ｎｔｉａｌｓ
Ｔｔｉｅ：                              ＣＯＮＮＥＣＴＯＲ




           Ｆ３物Ｇ ３７１５ ＢＡＴＥ       ＣＬＡＳＳ        ５ＲＣ８ＵＰＡＲＴＵＴ      ＡＴＴＯＲＮＥＹ ＤＯＣＫＥＴ ＮＯ。
           ０７／２４／２０２４           Ｄ１３          ２９１７             ６７３０１－－４０３１．ＤＳ０２

ＡＰＣＡＮＴＳ
  ＳＣＡＮＺＣＡＯ ＮＣ．，ｓｅａｎｇａ，ＣＡ
ｉＢＶＥＮＯＲ３
  Ｈｅｃｈｕａｅ：Ｘ．Ｓｇｈａｉ，Ｃ
Ｃ０ＴＩＮＧ ＤＡＴＡ
   ａｐｐｃａｔｉｏｎ ｉｓａ ＣＢＰｏｆ ２９／９４８，７２７０６／２２／２０２４ 陕Ｔ０１０５３８２６
   ２９／５４８，７２７ｉｓ ａ ＣＮｏｆ２９／９２３，７２６０１／０１／２９２４８ＡＴ ０１０３５５２５
ＦＯＲＥＩＣＮＡＰＰＬＩＣＡＹＯＮＳ
                                           Ｌ．ＥＭ．１１／／２６／２０２４
Ｅ ＫＥＱＵＲＥＤ，ＳＯＲＥＩＲＬＩＥＥ参ＳＥＧＢＡＮＴＥＤ＊＊
   ０７／１６／Ｚ０２４
＊＊Ｓ２ＡＥＮＢＴＹ
Ｓ７ＡＥＥ ＯＲ ＣＵＥＲＹ
   ＣＨＮＡ
ＡＤＤＢＥＳＳ
   Ｐｓｒｕｓｓ沪Ｃ
   ８４０７ｅｎｔｒａｌ Ａｅ，Ｓｔｅ ２０７７
   Ｓｔｔｅ２０７７
   ｅｗａｒｋ，ＣＡ ９４５６０
   ＵＮＥＤ ＳＴＡＴＥＳ
Ｆ服８ＲＧ ＦＥＥ ＢＥＣＥＥＤ
   Ｓ１０４８
